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IN THE UNITED sTATEs DlsTRlCT CoURT F“~'-

FOR THE WESTERN DISTRICT OF TENNESSEE

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WESTERN DIVISION 05 h 22 Pd L+ U-

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UNlTED STATES OF AMERICA` ctaat<. u.s. at t cT.
W.D. C`JF TN, lvli;iv\PHlS

Plaintiff,

v. No. 04-20390 B

RICK L. WOOD and
DOSEY NEWTON,

Defendants.

 

ORDER DENYING DEFENDANT WOOD'S MOTION TO RESET SENTENCING HEARING

 

Before the Court is the April 21, 2005 motion of the Defendant, Rick Wood, to reset the
sentencing hearing currently scheduled for May 5, 2005. Under the Local Rules of this district, " [a]ll
non-substantive motions . . . shall be accompanied by a certificate of counsel . . . affirming that, after
consultation between prosecution and defense counsel, they are unable to reach an accord as to the
action requested by the motion.“ LCrRlZ.l(a), Local Rules of the U. S. Dist. Ct. for the W. Dist.
of Tenn. (the "Rule"). The Rule further provides that "[f]ailure to tile an accompanying certificate
of consultation may be deemed good grounds for denying the motion." Ld. Counsel‘s statement in
his motion that "[i]t is believed AUSA Rae Oliver for the Govemment Will not object" falls short

of compliance With the Rule.l Thus, the motion is DENIED without prejudice.

 

lThe Couit notes that this is the third time a motion filed by Wood's counsel has been
denied for violation of the Local Rules. Counsel is admonished that he is expected, as are all
attorneys who practice before this Court, to familiarize himself with and follow the Local Rules

of this district. /

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uN ED sTATEs DisTRicT JUDGE

     

 

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This notice confirms a copy of the document docketed as number 75 in
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Honorable J. Breen
US DISTRICT COURT

